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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ANTHONY J. ALIUCCI,                           )
                                              )
               Petitioner,                    )
                                              )
       v.                                     )          Civil No. 10-1297
                                              )          Criminal No. 08-69
UNITED STATES OF AMERICA,                     )
                                              )
               Respondent.                    )

                                    JUDGMENT ORDER

       AND NOW, this 11th day of February, 2011, the Court having denied Petitioner’s

Motion Under 28 USC 2255 To Vacate, Set Aside or Correct a Sentence by a Person in Federal

Custody,

       IT IS FURTHER ORDERED that final judgment of this Court is entered pursuant to Rule

58 of the Federal Rules of Civil Procedure.

                                                  s/Nora Barry Fischer
                                                  Nora Barry Fischer
                                                  United States District Judge

cc/ecf: Shaun E. Sweeney, AUSA

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